Case: 1:20-cv-04046 Document #: 175-4 Filed: 06/27/24 Page 1 of 1 PagelD #:875
Motion & Order in Special Process (This form replaces CCMI-120) 4.) (Rev. 2/14/07) CCM N044

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IN THE CIRCUIT COURT OF cook County, ILLINOIS

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v

Plaintiff(s)

vo no. BOA M VAT VO
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LE yr Defendant(s 20)

MOTION

*1. .SERVICE OF PROCESS in this cause has not been made by the Sheriff. The Sheriff's return, not found, is dated

Lay DOL, a5 \¥,

*Z.. The Sheriff of @ OH iK County has not attempted service of process upon the defendant,
however, the following facts as set forth more specifically in the attached affidavit provide a sufficient basis for the
appointment of a special process server.

Petitioner moves the court to order service of process to be made by:

NAME Mowk. Tac, Reivake \ereshive Neentrd
_Appress SUSS oS. Pvacing. We. Ung Th poe
EMPLOYMENT _* Wrack “Brdtar’.§ B35 S Ravan tye

ADDRESS)

0) ,p9 t=

A person over 18 years of age and not a party fo this action. .

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Atty. Nort mo Sez VdSeoO 2 es

—=

Name: \V Ki RAY QoS aA i
Attorney for: ~ ony

Address: = "aS: Ss: Wicemaadty = :
City/State/Zip: + . qe S v ai
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Telephone: C1 S =O - RS IO

Under penalties as provided by law pursuant to 735 ILCS 5/1-109, the undersigned certifies that the statements set forth
herein are true and correct or on information and belief, certifies that he/she verily believes the same to be true.

\wian 3), 219. Aint ldssS
} mt 7 Date Movant oe Attorney for. Movant.

ORDER oe .

IT IS HEREBY ORDERED that G Neonates arr Chupa ey

is hereby appointed to make service of process in this cause. Q this motion is stricken. MAY ei 2m

Reason: ZA) ey Rod :
paca py 3 Arena POs
udge'sNo.-

*Strike inapplicable paragraph.
THE AFFIDAVIT OF RETURN GF SERVICE upon execution shall be stapled

the back side of the Court Summons and returned to court.

DOROTEY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, GLLINOIS
